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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: February 4, 2022



________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


In re:                                     :
                                           :       Case No. 21-52632
         JODI SUE ADKINS                   :       Chapter 7
                                           :       Judge Nami Khorrami
              Debtor                       :
                                           :

                                           :
JODI S. ADKINS                             :
                                           :
              Plaintiff                    :
                                           :
         v.                                :       Adv. Pro No. 21-02062
                                           :
U.S. DEPT. OF EDUCATION                    :
                                           :
              Defendant(s)                 :


   ORDER GOVERNING PRETRIAL AND TRIAL PROCEDURES IN ADVERSARY
  PROCEEDINGS (OR PREHEARING AND HEARING PROCEDURES IN CERTAIN


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        CONTESTED MATTERS) AND ORDERING PRELIMINARY PRETRIAL
                            STATEMENTS



         This order is intended to familiarize you with the procedures and forms required in
adversary proceedings and certain contested matters assigned to United States Bankruptcy Judges
in the Southern District of Ohio. The term attorney, as it is used in this order and the Preliminary
Pretrial Statement, includes any attorney designated or authorized to appear in this action as
well as any individual or entity appearing pro se. All filings required by this order shall be on the
forms or exact reproductions of the forms available from the Clerk of the Bankruptcy Court in this
district or on the Court’s website at www.ohsb.uscourts.gov.

                                          I. LOCAL RULES

       The attention of every attorney is directed to the Local Rules for the United States
Bankruptcy Court for the Southern District of Ohio (LBR), copies of which are available from the
Clerk of the Bankruptcy Court in this district or on the Court’s website at www.ohsb.uscourts.gov.

                           II. PRELIMINARY PRETRIAL STATEMENT
         In order to provide the Court with relevant information concerning the issues in a particular
proceeding and to expedite the disposition of adversary and contested matters in which an
evidentiary hearing may be required, the Court, pursuant to the provisions of Rule 7016 of the
Federal Rules of Bankruptcy Procedure and Rule 16 of the Federal Rules of Civil Procedure,
hereby orders each party to hold the mandatory Rule 26(f) Fed. R. C. P. conference not later than
February 25, 2022 and file the Preliminary Pretrial Statement (LBR Form 7016–1-PPS) not later
than March 11, 2022. Each party shall serve its Preliminary Pretrial Statement on every other party
to this action. If there are multiple defendants, the plaintiff shall file a Preliminary Pretrial Statement
as to each defendant unless such separate statements would be identical.

        The Preliminary Pretrial Statement is designed to highlight any procedural issues that
require resolution, outline an initial discovery schedule and initiate procedures to aid in the
resolution of this action either by decision of the Court or by agreement of the parties. Witness
Lists and Exhibit Lists are not required at the time a Preliminary Pretrial Statement is filed.

                                III. PRETRIAL CONFERENCE(S)

       Following a review of the initial pleadings and the Preliminary Pretrial Statements, the
Court may issue an order setting a pretrial conference.

        At the time of any pretrial conference, in addition to being prepared to discuss the
information contained in the filed Preliminary Pretrial Statements and the applicable subjects for
consideration set forth in Bankruptcy Rule 7016 and Rule 26(a) and (f) Fed. R. Civ. P., each
attorney shall report on the settlement efforts required by the Preliminary Pretrial Statement and
shall have the authority, or be able to receive such authority during the pretrial conference, to offer

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 and/or accept a settlement. In cases when a party is a governmental unit or official, authority to
 settle must be available within a reasonably short time after the pretrial conference.

         Further, each attorney shall be prepared to specifically discuss proposed dates for: (1) the
 filing of all amendments to the pleadings or motions; (2) completion of discovery; (3) the filing of
 stipulations; (4) the exchange and filing of witness lists and information; (5) the exchange and
 filing of exhibits and exhibit lists, including joint exhibits; (6) trial, including the amount of time
 anticipated; (7) the exchange and filing of any trial briefs; and (8) any written status report or
 further pretrial conference. Failure of an attorney to appear at any subsequently scheduled pretrial
 conference or otherwise comply with provisions of this order may result in dismissal of the
 proceeding or matter, a default judgment or such other remedy as may be appropriate. Any attorney
 may request a pretrial conference if one is not ordered by the Court.

                                  IV. COURTROOM CONDUCT

         The following procedures are to be followed in all proceedings in open court:

           (A) At the commencement of the proceeding, each attorney shall stand and state his or
 her name and introduce by name the parties and witnesses present for that attorney’s cause. Each
 attorney shall also state that the names of all witnesses and copies of all proposed exhibits have
 been exchanged with all other attorneys; or, shall state the names of all witnesses and provide copies
 to all other attorneys of all proposed exhibits that have not been exchanged.

           (B) All persons, whether counsel, parties or witnesses, shall be formally addressed by
their surnames wherever possible.

           (C) All documentary exhibits shall be prepared for presentation at any proceeding as
 follows: the original exhibit to be introduced in the proceeding and a copy for the witness, any
 other attorney, the examining attorney, the Court and the Court’s law clerk.

                               V. WITNESS AND EXHIBIT LISTS

         The instructions attached to the Preliminary Pretrial Statement govern the preparation and
 filing of witness and exhibit lists in this case or proceeding.

                                VI. JURY TRIAL PROCEDURES

        Local Bankruptcy Rule 9015–1 and Bankruptcy Rule 9015 govern the procedural aspects
 connected with jury trial procedures in this Court.

         SO ORDERED.

 Copies to:
        John C. Cannizzaro
        Melissa Baker Linville
        Bethany Hamilton

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